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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


     NAVY SEAL 1, et al.,

           Plaintiffs,

     v.                                             CASE NO. 8:21-cv-2429-SDM-TGW

     LLOYD AUSTIN, et al.,

           Defendants.
     ___________________________________/


                                           ORDER

           On March 30, 2022, USMC Captain moved (Doc. 147) for temporary injunc-

     tive relief and attested that on March 28, 2022, the Marine Corps — after rejecting

     his appeal from a denial of his request for a religious accommodation — ordered

     USMC Captain to accept COVID-19 vaccination within three days, that is, not later

     than April 1, 2022. The plaintiffs append (Doc. 147-2) correspondence with counsel

     informing the plaintiffs that a further extension of USMC Captain’s vaccination

     deadline remains unlikely.

           A careful review of USMC Captain’s motion and the defendant’s response re-

     veals a substantial likelihood that the Marine Corps’s denying USMC Captain’s ap-

     peal for a religious accommodation suffers the same defects identified both in the

     February 18, 2022 order (Doc. 111) granting a preliminary injunction on behalf of

     Navy Commander and Lieutenant Colonel 2 and in the orders (Docs. 122, 133)

     denying the motion to stay the injunction pending appeal. Further, USMC Captain’s
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     appellate denial letter is nearly identical to the appellate denials that the Marine

     Corps has employed to deny the appeals of other sincerely objecting marines. (Com-

     pare Doc. 121-1 at 9–12 with Docs. S-109-3 at 5, 29, 60, 95; S-109-4 at 19, 57, 82,

     114, 166, 209; S-109-5 at 26, 52, 83, 151, 178, 207; S-109-6 at 15, 43, 74, 173, 206;

     and S-109-7 at 7, 40, 42) Also, USMC Captain confronts the imminent and irrepara-

     ble harm of deciding between accepting vaccination despite a sincere religious belief

     or declining vaccination and incurring court martial, separation, and the like. Fi-

     nally, the balance of the equities and the public interest weigh in USMC Captain’s

     favor for the reasons identified in the earlier orders (Docs. 111, 122, 133). USMC

     Captain warrants preliminary injunctive relief, but recent orders by the United States

     Supreme Court and the Eleventh Circuit warrant discussion.

           On January 3, 2022, the United States District Court for the Northern District

     of Texas on behalf of twenty-six Navy SEALs (and others) preliminarily enjoined the

     defendants’ “applying [the Navy’s vaccination requirement] to Plaintiffs” and the de-

     fendants’ “taking any adverse action against Plaintiffs on the basis of Plaintiffs’ re-

     quests for religious accommodation.” U.S. Navy Seals 1–26 v. Biden, 4:21-cv-01236-O,

     2022 WL 34443 (N.D. Tex. Jan. 3, 2022). The defendants moved to stay the Texas

     injunction “to the extent the order precludes Defendants from making the assign-

     ment and reassignment decisions that the military deems appropriate, taking into ac-

     count Plaintiffs’ vaccination status, including with respect to deployment and train-

     ing.” The Northern District of Texas denied (ECF. 116) the motion to stay and



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     maintained the preliminary injunction to “prevent[] Plaintiffs from being deprived of

     pay, training, medical treatment, travel opportunities, and more.”

             The defendants promptly moved the Fifth Circuit for a partial stay of the pre-

     liminary injunction, which motion the Fifth Circuit denied. U.S. Navy Seals v. Biden,

     27 F. 4th 336 (5th Cir. 2022). After the Fifth Circuit denied a partial stay, the de-

     fendants applied to the United States Supreme Court for a partial stay. On

     March 25, 2022, the Supreme Court in a one-paragraph order granted the application

     and partially stayed the Texas injunction “insofar as it precludes the Navy from con-

     sidering respondents’ vaccination status in making deployment, assignment, and

     other operational decisions.” Austin, et al. v. U.S. Navy Seals, et al., No. 21A477, 595

     U.S. ___ (2022).

             On March 30, 2022, five days after the Supreme Court’s partial stay of the

     Texas injunction, the Eleventh Circuit, citing the Supreme Court’s partial stay,

     granted-in-part and denied-in-part a partial stay of the preliminary injunction in this

     action “insofar as it precludes the Navy from considering the plaintiffs’ vaccination

     status in making deployment, assignment, and other operational decisions . . . .” *

     Navy Seal 1, et al. v. Sec’y of the U.S. Dep’t of Def., et al., No. 22-10645 (11th Cir.

     Mar. 30, 2022).




             *
              Because the preliminary injunction in this action issued on behalf of both a service member
     in the Navy and a service member in the Marine Corps and because the absence of the Marine Corps
     from the Eleventh Circuit’s order is likely a clerical error, the Eleventh Circuit’s partial stay is con-
     strued to apply both to the Navy and to the Marine Corps.
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           In this action, the preliminary injunction states:

                  [T]he defendants are PRELIMINARILY ENJOINED (1) from
                  enforcing against Navy Commander and Lieutenant Colonel 2
                  any order or regulation requiring COVID-19 vaccination and
                  (2) from any adverse or retaliatory action against Navy Com-
                  mander or Lieutenant Colonel 2 as a result of, arising from, or
                  in conjunction with Navy Commander’s or Lieutenant Colonel
                  2’s requesting a religious exemption, appealing the denial of a
                  request for a religious exemption, requesting reconsideration of
                  the denial of a religious exemption, or pursuing this action or
                  any other action for relief under RFRA or the First Amend-
                  ment.

     (Doc. 111 at 47–48)

           Unlike the Texas injunction, the preliminary injunction in this action unmis-

     takably and narrowly enjoins retaliation but not the normal exercise of (lawful) com-

     mand authority. Two weeks before the Supreme Court partially stayed the Texas in-

     junction “insofar as it precludes the Navy from considering respondents’ vaccination

     status,” a March 11, 2022 (Doc. 133) order denying the defendants’ motion to stay

     the preliminary injunction in this action disavows as “wrong . . . the interpretation

     advanced [by the plaintiffs] that the preliminary injunction precludes, in all circum-

     stances, consideration of vaccination status.” The March 11 order explains that the

     “operative language” of the preliminary injunction enjoins “any adverse action that

     is retaliatory” and that the defendants “remain at liberty to issue commands, assign-

     ments, orders, and the like in the normal course of business.” (Doc. 133 at 2–3) “[I]f

     the Navy has a non-retaliatory reason to re-assign,” the March 11 order explains,

     “the injunction remains indifferent to that non-retaliatory exercise of command au-

     thority.” (Doc. 133 at 3)


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           In accord with the foregoing, the motions (Doc. 121, 147) are GRANTED,

     and the defendants are temporarily enjoined (1) from enforcing against USMC Cap-

     tain any order or regulation requiring COVID-19 vaccination and (2) from any retali-

     atory action as a result of, or arising from, USMC Captain’s requesting a religious

     accommodation, appealing the denial of a request for a religious accommodation, or

     pursuing this action or any other action for relief under RFRA or the First Amend-

     ment. But this injunction has no effect “insofar as it precludes the [Marine Corps]

     from considering [USMC Captain’s] vaccination status in making deployment, as-

     signment, and other operational decisions.” Austin, et al. v. U.S. Navy Seals, et al., No.

     21A477, 595 U.S. ___ (2022).

           A hearing by videoconference will occur APRIL 11, 2022, at 9:00 a.m. (1) on

     whether to convert the temporary injunctive relief into a preliminary injunction and

     (2) on the effect, if any, of the partial stay issued by the Supreme Court and the Elev-

     enth Circuit. Not later than APRIL 6, 2022, at 12:00 p.m. each party must in a no-

     tice identify any witness or evidence tendered for admission during the hearing. This

     temporary injunction expires APRIL 15, 2022, at 11:59 p.m. The courtroom dep-

     uty will transmit to counsel instruction for appearing by videoconference.

           Also, the plaintiffs move (Doc. 145) unopposed to file a supplemental memo-

     randum about the import of the Supreme Court’s partial stay in U.S. Navy Seals 1–26

     v. Biden, 4:21-cv-01236-O, 2022 WL 34443 (N.D. Tex. Jan. 3, 2022). The motion

     (Doc. 145) is GRANTED, and the proposed supplemental memorandum (Doc. 145-



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     1) is ACCEPTED. The defendants may respond to the supplemental memorandum

     not later than APRIL 8, 2022.

           ORDERED in Tampa, Florida, on April 1, 2022.




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